  Case 18-40075       Doc 94     Filed 07/30/18 Entered 07/30/18 16:37:54           Desc Main
                                   Document     Page 1 of 5


                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

 In re:

                                                                     Case No. 18-40075-EDK
 SUSAN A. YERDON,                                                    Chapter 13

           Debtor.


                DECLARATION OF MICHAEL P. RODKEY IN SUPPORT OF
                RESPONSE TO DEBTOR’S PROOF OF CLAIM OBJECTION

                I, Michael P. Rodkey, hereby declare under penalty of perjury and pursuant to 28

U.S.C. § 1746 that the following is true and correct to the best of my knowledge, information, and

belief:

          1.    I am a Bankruptcy Specialist with the Internal Revenue Service (the “Service”). I

have been employed with the Service for over 23 years and working as a Bankruptcy Specialist

with the Service for approximately 18 years. I handle bankruptcy matters located in the District

of Massachusetts involving the Service and I am the Bankruptcy Specialist assigned to the above-

captioned Chapter 13 Case of Susan A. Yerdon (the “Debtor”) filed on January 18, 2018 [Dkt. No.

1].

          2.    On February 23, 2018 I caused a proof of claim (the “POC”) to be filed against the

Debtor in the total amount of $811,889.71. There are three components to the amounts the Debtor

owes to the Service. First, the Debtor had failed to file personal income tax returns for the years

2013, 2014, 2015, 2016 and 2017. The Debtor has now filed returns for each of these years. The

filing of the missing returns reduces the amount of the Service’s claim to $811,379.71.

          3.    The second and third components of the POC relate to civil penalties assessed in

connection with unpaid trust fund taxes. Under the provisions of Internal Revenue Code section
  Case 18-40075       Doc 94     Filed 07/30/18 Entered 07/30/18 16:37:54            Desc Main
                                   Document     Page 2 of 5


6672, individuals who were required to collect, account for, and pay over federal employment or

excise taxes for a business may be personally liable for a penalty if the business does not pay the

taxes. These taxes consist of employment taxes the business withheld (or should have withheld)

from the employees’ wages (and failed to pay) or excise taxes the business collected (or should

have collected) from patrons (and failed to pay). These taxes are commonly referred to as “trust

fund taxes.” If trust fund taxes are not paid, the Service may impose a penalty against a person

required to collect, account for, and pay over withheld taxes. This penalty is called the Trust Fund

Recovery Penalty and it is equal to the unpaid trust fund taxes that the business still owes the

government.

       4.      The Trust Fund Recovery Penalty assessed by the Service against the Debtor for

the first, second, third and fourth quarters of 2005 relate to trust fund taxes owed by the business

L&L Temporaries Inc. (“L&L”). Upon information and belief the Debtor was the President of

L&L and was responsible for the financial affairs of the business. Therefore, the Service

determined that the Debtor was a responsible corporate officer liable for L&L’s failure to pay trust

fund taxes. On September 12, 2007, the Service delivered a letter to the Debtor notifying her of

the Trust Fund Penalties related to L&L and advising her of her rights to appeal or protest the

Service’s action. A true and correct copy of the letter is attached hereto as Exhibit A. The

Service’s records show that the letter was hand delivered to the Debtor on September 12, 2007.

See Exhibit B. The Debtor failed to respond to the letter or to appeal the action.

       5.      In March of 2018, the Debtor filed a Form 843 Claim for Refund and Request for

Abatement in connection with each of the L&L Trust Fund Recovery Penalties. A copy of these

claim forms are attached to the Debtor’s Objection to Department of the Treasury-Internal

Revenue Service Proof of Claim 5-1 (Dkt. No. 49] (the “Debtor’s Objection”]. The claim form

                                                 2
  Case 18-40075        Doc 94    Filed 07/30/18 Entered 07/30/18 16:37:54             Desc Main
                                   Document     Page 3 of 5


required the Debtor to explain why she believed the claim should be allowed. If she needed more

space, the instructions indicated she should attach additional sheets. The only explanation

provided by the Debtor was “Civil Penalties were assessed on 941’s not filed for a business that

was closed.” See Debtor’s Objection, p. 6-9. Accordingly, the Debtor did not produce new facts

or evidence to support her claim and, on July 24, 2018, the Service disallowed the Debtor’s claim

for refund and abatement. A true and correct copy of the notice provided to the Debtor is attached

hereto as Exhibit C.

         6.    The Trust Fund Recovery Penalty assessed by the Service against the Debtor for

the first, second, third and fourth quarters of 2007 and the first, second, third and fourth quarters

of 2008 relate to trust fund taxes owed by the business Dimension Staffing, Inc. (“Dimension”).

In March of 2018, the Debtor filed a Form 843 Claim for Refund and Request for Abatement in

connection with each of the Dimension Trust Fund Recovery Penalties. A copy of these claim

forms are attached to the Debtor’s Objection. The claim form required the Debtor to explain why

she believed the claim should be allowed. If she needed more space the instructions indicated she

should attach additional sheets. The only explanation provided by the Debtor was “Civil Penalties

were assessed on 941’s not filed for a business that was closed.” See Debtor’s Objection, p. 3-5,

10-14.

         7.    On September 8, 2009, the Debtor executed a Form 941 Employer’s Quarterly

Federal Tax Return for Dimension for each quarter of 2007 and 2008 (the “Dimension Form

941s”). The Debtor executed each Dimension Form 941 as President of Dimension. The

Dimension Form 941s were each executed under penalty of perjury. The information included by

the Debtor in the Dimension Form 941s is the information the Service used to determine the Trust

Fund Recovery Penalties owed by the Debtor. The Debtor failed to produce new facts or evidence

                                                 3
  Case 18-40075       Doc 94     Filed 07/30/18 Entered 07/30/18 16:37:54         Desc Main
                                   Document     Page 4 of 5


to support her claims with respect to Dimension, and accordingly, on July 24, 2018, the Service

disallowed the Debtor’s claim for refund and abatement. A true and correct copy of the notice

provided to the Debtor is attached hereto as Exhibit D.

               I declare under penalty of perjury under the laws of the United States of America

that, to the best of my knowledge, information, and belief, and after reasonable inquiry, the

foregoing is true and correct.


Date: July 30, 2018                          By:    /s/ Michael P. Rodkey
                                                    MICHAEL P. RODKEY




                                                4
  Case 18-40075        Doc 94     Filed 07/30/18 Entered 07/30/18 16:37:54            Desc Main
                                    Document     Page 5 of 5


                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

 In re:

 SUSAN A. YERDON,                                                     Case No. 18-40075-EDK
                                                                      Chapter 13
           Debtor.

                                 CERTIFICATE OF SERVICE
        I, Raquelle L. Kaye, hereby certify that on July 30, 2018 I electronically filed the
foregoing document with the U.S. Bankruptcy Court for the District of Massachusetts by using
the CM/ECF system. The foregoing document will be electronically sent to the parties who are
currently on the list to receive e-mail notices in this case.

       I further certify that on July 30, 2018, I served a copy of the same by first-class U.S. mail,
postage pre-paid, to the following:

          Susan A. Yerdon
          South Middlesex Correctional Facility
          F81462, P.O. Box 850
          Framingham, MA 01701


Date: July 30, 2018                                   /s/ Raquelle L. Kaye
                                                      RAQUELLE L. KAYE




                                                  5
